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Fll.ED BY __%§£,,_ D.C.
lN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG ._| pH 3- lo

 

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CHERRIE L.FULGHUM, CLERK,US. §3 3FCTCOURT
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Plaintiff,
v. No. 04~2340 B

FEDEX CORPORATION,

Defendant.

 

ORDER DENYING DEFENDANT'S MOTION TO DISMISS

 

Before the Court is the motion of the Defendant, Fedex Corporation (“FedEx"), to dismiss
the complaint filed by the Plaintiff, Cheirie L. F ul ghum, for failure to state a claim upon Which relief
could be granted, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. The Rule
requires the Court to "constt'ue the complaint in the light most favorable to the plaintiff, accept all
of the complaint's factual allegations as true, and determine Whether the plaintiff undoubtedly can
prove no set of facts in support of the claims that Would entitle relief.“ Grindstaff v. Green, 133 F.3d
416, 421 (6th Cir. 1998).

The Plaintiff has alleged violation of the F amin and Medical Leave Act (the “FMLA"), 29
U.S.C. § 2601, e_t seg_. The limitations provision of the statute requires that "an action must be
brought under this section not later than 2 years after the date of the last event constituting the
alleged violation for Which the action is brought." 29 U.S.C. § 261?(c)(l). According to the
complaint, the “last event constituting the alleged violation“ occurred on May 8, 2002. FedEx
contends that this action, initiated on May lO, 2004, is barred by the statute of limitations set forth

in § 2617(3)(1).

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Fed. R. Civ. P. 6(a) provides that

[i]n computing any period of time prescribed or allowed by . . . any applicable Statute,

the day of the act, event, or default from which the designated period of time begins

to run shall not be included The last day of the period so computed shall be

included, unless it is a Saturday, a Sunday, or a legal holiday, . . . in which event the

period runs until the end of the next day which is not one of the aforementioned days.
(ernphasis added.) As Fulghum has noted in her response to the motion, the two»year statutory
period ending on May 8, 2004 fell on a Saturday. Thus, according to Rule 6(a), the Plaintiff had
until the Monday following the running of the statutory period, May 10, 2004, in which to file her

complaint As a consequence, the complaint filed on that date is not time-barred.]

tr rs so oRDERED this i_ day ofAuguSt, 2005.

 

J. NIEL BREEN \
uN TED sTA'rEs orsrchr JUDGE

 

]Based on the Court's decision, it need not address the Plaintiff‘s arguments concerning
her amended complaint and the allegations therein as to the statute of limitations for "Willful"
violations of the FMLA.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02340 was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

ESSEE

 

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Honorable .l. Breen
US DISTRICT COURT

